
51 So. 3d 621 (2011)
Roy A. WILLIAMS and Dorothy Williams, Appellants,
v.
U.S. BANK NATIONAL ASSOC., etc., Appellees.
Nos. 5D10-1808, 5D10-2859.
District Court of Appeal of Florida, Fifth District.
January 14, 2011.
Matthew D. Valdes and Craig R. Lynd of Kaufman, Englett &amp; Lynd, PLLC, Orlando, for Appellants.
Thomasina F. Moore, and Dennis W. Moore, of Butler &amp; Hosch, P.A., Orlando, for Appellees.

ON CONFESSION OF ERROR
PER CURIAM.
Pursuant to the Appellees' confession of error, the order on appeal is reversed and this cause is remanded for further proceedings.
REVERSED and REMANDED.
TORPY, EVANDER and COHEN, JJ., concur.
